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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION




    ALBERT TERRILL JONES,


    v.                                                  Case No. 8:02-cr-122-T-24EAJ
                                                                 8:06-cv-851-T-24EAJ

    UNITED STATES OF AMERICA.

                                                   /



                                             ORDER

          This cause is before the Court on Defendant Albert Terrill Jones' 28 U.S.C. § 2255

    motion to vacate, set aside, or correct an allegedly illegal sentence. (Doc. cv-1; cr-697).

                                         BACKGROUND

          On April 23, 2003, Jones and his co-defendants were charged in a one-count

    superseding indictment with conspiracy to possess with intent to distribute cocaine and

    marijuana. (Doc. cr-47 [Superseding Indictment]; Doc. cr-682 [Opinion of the United States

    Court of Appeals for the Eleventh Circuit]).

          The opinion of the Eleventh Circuit affirming the conviction and sentence sets out the

    factual background of this case :
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                Albert Terrill Jones, Elgin Ray Lofton, Luther Ford, Ronald Ray
         Langdon, and Michael Wayne Cobb were indicted on charges of conspiracy
         to possess with intent to distribute five kilograms of cocaine, fifty grams of
         crack cocaine, and 100 kilograms of marijuana, in violation of section
         841(a)(1) of Title 21 of the United States Code. The conspiracy involved
         participants in California, Nevada, Tennessee, and Florida who shipped drugs
         and money across the county [sic] by parcel services. The conspirators used
         text message pagers to communicate with each other.

               After the conspiracy was discovered, government agents identified
         Marquette McCalebb as the leader or [sic] a major part of the conspiracy.
         Special Agent Kevin McLaughlin of the Drug Enforcement Agency learned
         from a former conspirator that the conspirators communicated through text
         message pagers. McLaughin contacted Skytel Communications, the service
         providers for the pagers. McLaughlin also contacted Federal Express, the
         United States Postal Service, Airborne Express, and DHL regarding shipments
         of drugs by mail.

                McCalebb was arrested in California, and his home was searched.
         Agents discovered a large conspiracy ring that involved numerous
         participants: Jones, Langdon, Lofton, Ford, Cobb, and others. Each defendant
         had a different role in the conspiracy. Ford mailed packages containing drugs
         to Octavius Henderson and Jones in Florida. Ford received $50 to $100 for
         each package shipped. Langdon supplied McCalebb with five to ten kilograms
         of cocaine per week. Lofton, in Las Vegas, received drug proceeds on behalf
         of McCalebb. Cobb and Jones, in Florida, received packages containing
         drugs.

                Skytel informed McLaughlin that it maintained records of the actual text
         message sent by pager, and Skytel would disclose the records if it received
         an administrative subpoena. McLaughlin, therefore, served Skytel with a
         subpoena for records of text messages sent on the defendants' pagers.
         McLaughlin did not obtain a search warrant. McCalebb, Jones, Cobb and
         Langdon moved to suppress the text message records, and the district court
         determined that the defendants established a subjective expectation of privacy
         in the text messages and suppressed the records.

                McCalebb pleaded guilty to conspiring to possess with intent to
         distribute five kilograms or more of cocaine in accordance with a written plea
         agreement, and agreed to cooperate with the government. At the request of
         the government, McCalebb's attorney obtained records pertaining to
         McCalebb's pager from Skytel, which were forwarded to the government.
         Over the other defendants' objections, the district court ruled that McCalebb
         would be permitted to testify regarding text messages he had sent to and


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          received from his co-defendants. McCalebb was the star witness of the
          government.

    (Doc. cr-682 at pp. 2-4)(citations omitted).

          After jury trial held June 9-24, 2003, Jones was found guilty of conspiracy to possess

    with intent to distribute 5 kilograms or more of cocaine, 50 grams or more of cocaine base,

    and 100 kilograms or more of marijuana in violation of 21 U.S.C. § § 846 and 841(b)(1)(A).

    (Docs. cr-453-482). (See Judgment at Doc. cr-552). On October 3, 2003, the undersigned

    United States District Judge sentenced Jones to three hundred months incarceration. (Doc.

    cr-552)

          Jones appealed his conviction and sentence, raising the following issues: 1) the

    district court abused its discretion when it admitted testimony regarding the text messages

    from McCalebb's pagers; 2) the district court abused its discretion when it admitted

    evidence of Jones' 1995 conviction, under Federal Rule of Evidence 404(b), to prove his

    intent to conspire to distribute drugs; 3) the district court erred, under United States v.

    Booker, 543 U.S. 220 (2005), when it treated the Sentencing Guidelines as mandatory in

    sentencing Jones.

          The United States Court of Appeals for the Eleventh Circuit affirmed Jones'

    conviction and sentence on September 20, 2005. The mandate issued October 20, 2005.

    Jones signed the present motion to vacate on May 5, 2006. The motion to vacate is timely.

                                          DISCUSSION

          A review of the record demonstrates that, for the following reasons, Jones' motion

    to vacate must be DENIED.




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                                      Grounds One and Two

          In ground one, Jones alleges that his conviction "on evidence in violation of 18

    U.S.C. § 2703(a)1" violates his due process rights. In support of his claim, he alleges that

    DEA agent McLaughlin accessed electronic communications and records at least nine

    documented times without the required warrants. Jones contends that prosecuting him "on

    evidence seized without the antecedent warrant process as due under 18 U.S.C. §

    2703(a)," imposed liberty restraints in violation of the Fifth Amendment to the Constitution.

    (Doc. cv-1; cr-697)

          In ground two, Jones alleges that the Court violated his Fourth Amendment right to

    be free of illegal search and seizure, because, after the Court granted the motion

    suppressing the text messages, the undersigned United States District Judge allowed five

    Government exhibits of Skytel text messages to be admitted at trial.




              1
                     18 U.S.C. 2703(a) reads as follows:

              2703. Required disclosure of customer communications or records

                     (a) Contents of wire or electronic communications in electronic
              storage.--A governmental entity may require the disclosure by a provider
              of electronic communication service of the contents of a wire or electronic
              communication, that is in electronic storage in an electronic
              communications system for one hundred and eighty days or less, only
              pursuant to a warrant issued using the procedures described in the
              Federal Rules of Criminal Procedure by a court with jurisdiction over the
              offense under investigation or equivalent State warrant. A governmental
              entity may require the disclosure by a provider of electronic
              communications services of the contents of a wire or electronic
              communication that has been in electronic storage in an electronic
              communications system for more than one hundred and eighty days by
              the means available under subsection (b) of this section.


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          Grounds one and two are procedurally barred because Jones raised the claims on

    direct appeal and he cannot raise the claims a second time in this 2255 proceeding. In

    affirming Jones' judgment and conviction, the Eleventh Circuit stated:

          A. The District Court Did Not Abuse Its Discretion When It Admitted Testimony
                 By McCalebb Regarding Text Messages He Received

                 Jones, Langdon, and Cobb argue that the district court abused its
          discretion when it admitted testimony regarding the text messages from
          McCalebb's pager. The district court initially suppressed the text message
          records, which the government had obtained by administrative subpoena from
          Skytel. The district court nevertheless allowed testimony regarding the text
          messages when McCalebb pleaded guilty and agreed to testify at trial. The
          district court concluded that McCalebb could waive any privacy right he had
          with regard to the messages.

                 "A person has an expectation of privacy protected by the Fourth
          Amendment if he has a subjective expectation of privacy, and if society is
          prepared to recognize that expectation as objectively reasonable." United
          States v. Miravalles, 280 F.3d 1328, 1331 (11th Cir. 2002) (citing Katz v.
          United States, 389 U.S. 327, 361, 88 S. Ct. 507, 516 (1967) (Harlan, J.,
          concurring). An individual's right to privacy is limited however. "[T]he Fourth
          Amendment does not prohibit the obtaining of information revealed to a third
          party and conveyed by him to Government authorities, even if the information
          is revealed on the assumption that it will be used only for a limited purpose
          and the confidence placed in the third party will not be betrayed." United
          States v. Miller, 425 U.S. 435, 443, 96 S.Ct. 1619, 1624 (1976) (limited by
          statute).

                 We have not addressed previously the existence of a legitimate
          expectation of privacy in text messages or e-mails. Those circuits that have
          addressed the question have compared e-mails with letters sent by postal
          mail. Although letters are protected by the Fourth Amendment, "if a letter is
          sent to another, the sender's expectation of privacy ordinarily terminates upon
          delivery." United States v. King, 55 F.3d 1193, 1995-96 (6th Cir.
          1996)(citations omitted). Similarly, an individual sending an e-mail loses "a
          legitimate expectation of privacy in an e-mail that had already reached its
          recipient." Guest v. Leis, 255 F.3d 325, 333 (6th Cir. 2001); United States v.
          Lifshitz, 369 F.3d 173, 190 (2d Cir. 2004). See also United States v. Maxwell,
          45 M.J. 406, 418 (C.A.A.F. 1996) ("Drawing from these parallels, we can say
          that the transmitter of an e-mail message enjoys a reasonable expectation that
          police officials will not intercept the transmission without probable cause and


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          a search warrant. However, once the transmissions are received by another
          person, the transmitter no longer controls its destiny."), cited in Guest, 255
          F.3d at 333.

                The government elicited testimony from McCalebb concerning text
          messages that he sent or received through his pager. Because the defendants
          did not have a reasonable expectation of privacy in the text message received
          or sent by McCalebb, the district court correctly permitted McCalebb to testify
          regarding the content of those messages.

                  The defendants also erroneously argue that the earlier ruling of the
          district court suppressing the text messages is law of the case and precludes
          the later decision to permit McCalebb to testify. Whether McCalebb could
          testify regarding text messages that he sent and received was a separate
          issue from whether the government was entitled to use text messages it
          obtained without a warrant, and the earlier ruling was not law of the case for
          that issue. McCalebb's testimony did not violate the Fourth Amendment and
          suppression was not warranted.

    (Doc. cr-682 at pp. 6-8).

          Generally, claims raised and disposed of in a previous appeal are precluded from

    reconsideration in a Section 2255 proceeding. Davis v. United States, 417 U.S. 333

    (1974); United States v. Rowan, 663 F.2d 1034, 1035 (11th Cir. 1981). “Once a matter has

    been decided adversely to a defendant on direct appeal, it cannot be re-litigated in a

    collateral attack under section 2255.” United States v. Nyhuis, 211 F.3d 1340, 1343 (11th

    Cir. 2000) (quoting United States v. Natelli, 553 F.2d 5, 7 (2d Cir. 1977)); see also

    Olmstead v. United States, 55 F.3d 316, 319 (7th Cir. 1995) (section 2255 motion is

    “neither a recapitulation of nor a substitute” for direct appeal; absent changed

    circumstances of fact or law, court will not reconsider an issue already decided on direct

    appeal). The defendant has established no extraordinary circumstances that would justify

    reconsideration of this claim. See Schlup v. Delo, 513 U.S. 298 (1995); Davis v. United




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    States, 417 U.S. 333 (1974). Therefore, grounds one and two are procedurally barred due

    to prior resolution and do not warrant relief.

                                           Ground Three

          In ground three, Jones alleges that the grand jury unconstitutionally admitted

    unlawfully obtained evidence in violation of the electronic communications privacy act

    (ECPA). Jones contends that the same ECPA evidence declared inadmissible for trial was

    also inadmissible before the grand jury under 18 U.S.C. § § 3504 and 2515. He alleges

    that the grand jury had no legal authority to act on unlawful evidence to impose lawful

    subject matter jurisdiction proceedings.

          Ground three is procedurally barred because the claims should have, or could have

    been raised on direct appeal and were not.

          Jones has not shown cause and prejudice to overcome the procedural bar as to

    ground three. Nor has he shown that a manifest injustice will occur if this Court does not

    reach the merits of the claim.

                                            Ground Four

          Jones alleges that he was denied effective assistance of counsel because counsel

    failed to take injunctive action to prevent the admission of evidence found by the Court to

    be unconstitutional and ordered inadmissible. He contends that counsel was ineffective for

    failing to file a motion to dismiss the indictment following the Court's decision to suppress

    the text messages.

          This claim is, in essence, the same claim raised in grounds one, two, and three,

    although couched as an ineffective assistance of counsel claim.



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          To prevail on a claim of ineffective assistance of counsel, the petitioner must

    establish deficient performance and resulting prejudice. The benchmark for judging any

    claim of ineffective assistance of counsel, however, is whether counsel's conduct so

    undermined the proper functioning of the adversarial process that the trial cannot be relied

    on as having produced a just result. Strickland v. Washington, 466 U.S. 668, 688 (1984);

    see also Boykins v. Wainwright, 737 F.2d 1539, 1542 (11th Cir. 1984). Jones has not

    shown deficience performance on the part of his counsel, or that he was prejudiced by

    counsel's performance because the Eleventh Circuit found that the text messages were

    admissible. Accordingly, ground four does not warrant relief.

          Accordingly, the Court orders:

          That Jones' motion to vacate (Doc. cv-1; cr-697) is denied. The Clerk is directed to

    enter judgment against Jones in the civil case and to close that case.

          IT IS FURTHER ORDERED that defendant is not entitled to a certificate of

    appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

    appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

    must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

    applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

    2253(c)(2). To make such a showing, defendant “must demonstrate that reasonable jurists

    would find the district court's assessment of the constitutional claims debatable or wrong,”

    Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

    484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

    proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.



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    Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

    these circumstances.

          Finally, because defendant is not entitled to a certificate of appealability, Jones is not

    entitled to appeal in forma pauperis.

          ORDERED at Tampa, Florida, on May 22, 2006.




    AUSA: Anthony Edward Porcelli
    Albert Terrill Jones, Pro Se




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